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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )   CIVIL ACT. NO. 2:18mc3842-ECM
                                            )
SURGE STAFFING,                             )
                                            )
       Garnishee                            )
                                            )
MAGALITA GELIN,                             )
                                            )
       Defendant.                           )

                                       ORDER

       Upon consideration of the motion to dismiss (doc. 6) filed on January 29, 2019, and

for good cause, it is

       ORDERED that the motion to dismiss (doc. 6) be and is hereby GRANTED and the

Writ of Garnishment be and is hereby DISMISSED.

       The Clerk of the Court is DIRECTED to close this matter.

       DONE this 30th day of January, 2019.



                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  UNITED STATES DISTRICT JUDGE
